


  PER CURIAM.
 

  This is an appeal of an order summarily denying a motion under Florida Rule of Criminal Procedure 3.800. On appeal from a summary denial, this Court must reverse unless the post-conviction record,
  
   see
  
  Fla. R.App. P. 9.141(b)(2)(A), shows conclusively that the appellant is entitled to no relief.
  
   See
  
  Fla. R.App. P. 9.141(b)(2)(D).
 

  Because the record now before us fails to make the required showing, we reverse the order and remand for further proceedings. If the trial court again enters an order summarily denying the post-conviction motion, the court shall attach record excerpts conclusively showing that the appellant is not entitled to any relief.
 

  Reversed and remanded for further proceedings.
 
